
It appearing to the court, and upon motion of appellant of January 5, 1973, that the issues involved in the appeal in the above cause are matters within the jurisdiction of the Supreme Court of Florida, therefore, pursuant to the provisions of Florida Appellate Rule 2.1(5) (d), it is,
ORDERED that said cause be transferred to the Supreme Court of Florida for consideration and determination after five (5) days from this date unless, in the meantime, attorneys of record for the parties, or any of them shall bring to the attention of this court that the above-styled cause is one which should be heard and determined by this court. Unless such cause is shown by writing filed in this court within the time stated, the Cleric shall complete the transfer in accord with the above directive without further order.
